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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 JESSICA A. TORRES-GRAHAM                        §
                                                 §
        Plaintiff,                               §
                                                 §
 v.                                              §          CIVIL ACTION NO. 3:22-cv-132
                                                 §
 WIRELESS VISION HOLDINGS,                       §
 LLC,                                            §
                                                 §
        Defendant.                               §

                          DEFENDANT’S NOTICE OF REMOVAL

       Defendant Wireless Vision, LCC (“Defendant”), incorrectly named here as Wireless

Vision Holdings, LLC, files this Notice of Removal to this Court pursuant to 28 U.S.C. §§ 1331,

1441, and 1446, and in support of this Notice, respectfully show the following:

                                    STATEMENT OF CASE

       1.      On March 1, 2022, Plaintiff Jessica A. Torres-Graham filed her First Amended

Petition (“Petition”) against Defendant in the 210th District Court of El Paso County, Texas.

       2.      The Petition alleges claims under the Family and Medical Leave Act. For the

reasons that follow, Defendant removes the case to this Court.

               PLAINTIFF’S CLAIMS PRESENT A FEDERAL QUESTION

       3.      This Court has jurisdiction over this matter by virtue of 28 U.S.C. § 1331 because

the matter involves a claim arising under the laws of the United States. Plaintiff seeks relief under

the Family and Medical Leave Act pursuant to 29 U.S.C. § 2615, specifically alleging interference

with her right to take leave, discrimination, and retaliation. This action may be removed to this

Court pursuant to 28 U.S.C. § 1441 because Plaintiff’s claims arise under federal law.




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                            DIVERSITY OF CITIZENSHIP EXISTS

        4.      This Court also has original jurisdiction of this matter under 28 U.S.C. § 1332

because the parties are citizens of different States and the amount in controversy exceeds $75,000.

        5.      Plaintiff is a resident of El Paso County, Texas.
        6.      Defendant is a Limited Liability Company and its members are citizens of

Michigan, Indiana, Florida, Delaware, and Pennsylvania.

        7.      The citizenship of an LLC is determined by the citizenship of all of its members.

Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Defendant is therefore not

a citizen of the State of Texas.

        8.      The matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs. Plaintiff’s Petition states that she seeks damages over $200,000.

        9.      Nothing contained in this Notice of Removal shall be construed to mean that any

amount is or will be owing to Plaintiff, or that it is appropriate or justified for Plaintiff to seek any

particular type or amount of damages.

                                               VENUE

        10.     Venue for this action is proper in the District Court for the Western District of

Texas, El Paso Division because this is the district and division in which the state court action is

pending. 28 U.S.C. § 1446(a).

                                      REMOVAL IS TIMELY

        11.     Defendant was served with Plaintiff’s Petition on March 24, 2022. Pursuant to 28

U.S.C. § 1446(b), a defendant must file a notice of removal within thirty days after service of the

amended pleading, motion, order, or other paper from which the defendant can ascertain that the

case has become removable. Accordingly, this notice of removal is timely filed.



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                    ATTACHEMENT OF STATE COURT PLEADINGS

       12.     Defendant has attached to this Notice as Exhibit A, a complete copy of the state

court file, including the docket sheet.

                    NOTICE OF REMOVAL GIVEN TO STATE COURT

       13.     A Notice of Removal to Federal Court is being filed in the 210th District Court of

El Paso County, Texas on the date of this filing with the U.S. District Court for the Western District

of Texas. A copy of the notice provided to the state court is attached to this Notice as Exhibit B.

                                          JURY DEMAND

       14.     Plaintiff has demanded a trial by jury in the underlying state court action.

                                          CONCLUSION

       15.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331

because Plaintiff’s claims present a federal question. The court also has original jurisdiction under

28 U.S.C. § 1332 because the parties are citizens of different States and the amount in controversy

exceeds $75,000. This action may be removed to this Court pursuant to 28 U.S.C. § 1441.

       Pursuant to and in accordance with 28 U.S.C. § 1446, Defendant removes this action from

the 210th District Court of El Paso County, Texas, to this Court on this the 18th day of April, 2022

and prays that Defendant has such other and further relief, both general and specific, at law and

equity, to which it may be justly entitled.




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                                                      Respectfully submitted,

                                                      OGLETREE, DEAKINS,
                                                      NASH, SMOAK & STEWART, P.C.

                                                      /s/ Bruce A. Griggs
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                                                      ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this 18th day of April, 2022, served via e-filing through the
Texas E-Filing System, a true and correct copy of the foregoing document, Defendant’s Notice of
Removal, to all counsel as follows:

       Enrique Chavez, Jr.
       enriquechavezjr@chavezlawpc.com
       CHAVEZ LAW FIRM
       2101 Stanton Street
       El Paso, Texas 79902

                                                      /s/ Bruce A. Griggs
                                                      Bruce A. Griggs




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